       Case 5:11-cr-40057-JAR         Document 105      Filed 02/21/12    Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


 UNITED STATES of AMERICA,

                       Plaintiff,
 v.                                                   Case No. 11‐40057‐01/04‐RDR

 MARCOS FIDEL MOJICA‐CRUZ,

                       Defendant.



                      ORDER CONTINUING MOTION HEARING

       The court hereby grants counsel’s request to continue the hearing on defendant’s

motion to appoint new counsel.       A hearing on the motion is set for February 23, 2012 at

11:00 a.m. For the reasons set out in the motion, the Court finds the continuance will not

prejudice the parties, is necessary for the effective defense of Mr. Mojica‐Cruz, and that the

need for a continuance outweighs the interest of the public and the defendant in a speedy

trial, as set out in 18 U.S.C. 3161(h)(8).

       IT IS SO ORDERED this 21st day of February, 2012.

                                                  s/Richard D. Rogers
                                                  United States District Judge
